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IN THE UNITED STATES DISTRICT COURT
FOR TI-IE NORTHERN DISTRICT OF GEORGIA
A'I`LANTA DIVISION

 

CHINELA N. JOHNSON,
individually and on behalf of Case No.:
others similarly situated,

Plaintiffs,
vs.

RYLA TELESERVICES, INC.,

Defendant.

 

COLLECTIVE ACTION COMPLAINT
(JURY TRIAL REQUESTED)

 

JURISDlCTION
l. 'I`his Court has original jurisdiction to hear this Complaint and to
adjudicate the claims stated herein under 28 U.S.C. § 1331 because these claims
are brought under the Federal Fair Labor Standards Act, 29 U.S.C. § 201 et_seq.
(“FLSA").
2. Venue is proper in the Northern District of Georgia, Atlanta Division,
under 28 U.S.C. § 139l(b)(2) because a substantial part of the events or omissions

giving rise to the claims occurred in this District.

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PARTIES

3. Defendant Ryla Teleservices, lnc. (“Ryla") is, upon information and
belief, a foreign corporation, maintaining its principal place of business in Georgia.
The company provides call center outsourcing and call center services for
organizations throughout the United States. According to its website, the company
employs between 1,500 and 2,000 call center agents, and maintains call centers in
Kennesaw, Georgia, Mobile, Alabama and various other states.

4. Defendant is an employer as defined by 29 U.S.C. § 203(d).

5. Plaintit`f Chinela N. Johnson (“Plaintiff Johnson”) is a former
employee of Defendant. Defendant employed Plaintiff Johnson as a customer
service representative at its Kennesaw, Georgia call center from approximately
April 2009 through April 2010. Plaintiff Johnson is a resident of the city of
Ellenwood, county of Dekalb, state of Georgia.

6. Plaintiff is an employee as defined by 29 U.S.C. § 203(e).

7. Plaintiff’s consent form to join this action is attached as
Exhibit A.

8. ln addition, to date, forty (40) other Plaintit`t`s have also consented to
bring overtime claims against Def`endant by filing their consent forms with this
Court. (_Sg Ex. B.) As this case proceeds, it is likely that other individuals will

sign consent forms and join as plaintiffs

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COLLECTlVE A(_ITI(_)N FA(_ZTUAL AMGATIONS

9. Plaintiffs bring this action on behalf of themselves and other similarly
situated individuals pursuant to 29 U.S.C. § 216 (b). Plaintiffs and those similarly
situated are individuals who were, or are, employed by Defendant in customer
service and similar positions that primarily involved providing service to
customers through inbound telephone calls, at any time within three years prior to
the filing of this Complaint, in its Kennesaw, Georgia call center, and were not
paid for some or all of their work activities

10. Plaintiffs and the similarly situated individuals are similar because
they were all hourly employees whose duties consisted primarily of providing
service to customers by telephone while working in Defendant’s Georgia call
center. They are also similar because Defendant did not pay them for some or all
of the time worked that occurred before and/or after their scheduled shif`t.

Il. Defendant knowingly required Plaintiffs and the similarly situated
individuals to perform unpaid work before and/or after their shift. This work
included, but was not limited to time spent booting-up computers, initializing
software programs, setting up “call backs,” and reviewing work related emails and
intranet messages.

12. Upon information and belief, Defendant did not have any process or

procedure in place whereby Plaintiffs or those similarly situated could recover this

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time spent working prior to their scheduled shifts. Defendant’s policy was that
Plaintiffs and those similarly situated were not allowed to log on to their phones
until the start of their scheduled shift and, upon information and belief, their time
worked was not tracked until they logged onto the phone system.

13. Defendant’s actions were knowing and willful. Upon information and
belief, sometime prior to Plaintiffs’ employment Defendant may have paid its
customer service representatives using a system that tracked all their time worked
ii‘om the time they arrived at their workstation, but discontinued its use for a
procedure that only starts tracking time worked when these employees log into the
phone systems to take their first call at the start of their scheduled shift

14. Upon information and belief, if Plaintiffs and the similarly situated
individuals were not ready to take a telephone call at the start of their scheduled
shift, their quality scores, which measured their performance, could be adversely
affected

15. Moreover, Defendant was aware that Plaintiffs and the similarly situated
individuals were working time for which they were not compensated For
example, in training, and throughout their employment, Defendant instructed them
to arrive before their scheduled shifts in order to perform additional responsibilities
and be ready to take calls when their scheduled telephone shift started. Even so,

upon information and belief, Defendant did not accurately track or compensate its

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employees for this additional time worked outside of when they were logged into
the phone system.

16. Defendant was further aware that Plaintiffs and the similarly situated
individuals were not being compensated for all of their time worked because
Plaintiffs and the similarly situated individuals complained to management about
it. Specifically, when Plaintiffs complained to supervisors, Plaintiffs’ supervisors
explained that performing unpaid work activities was required because it was
expected, and was part of the job. Furthermore, Plaintiffs’ supervisors explained
that Plaintiffs and the similarly situated individuals were required do whatever it
took do to be ready to take their first call at the start of their scheduled shift.

17. Finally, Defendant should have known that its policy of requiring
employees to perform unpaid work activities was unlawful because many similar
lawsuits have been filed in courts throughout the country against employers in the
call center industry.

18. Upon information and belief, the amount of uncompensated time
Plaintiffs and the similarly situated individuals spend or have spent on these
required and unpaid work activities amounts to an average of between ten and
twenty minutes per day, per person. This time regularly resulted in overtime hours
being worked by Plaintiffs and the similarly situated individuals - overtime that

was not reflected in their payroll or time records or paid by Defendant

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COUNT l
VIOLATION OF THE FAIR LABOR STANDARDS ACT

19. Plaintiifs incorporate the forgoing paragraphs by reference.

20. During the statutory period, Plaintiffs and the similarly situated
individuals were employed by Defendant in customer service and similar positions
that primarily involved providing service to customers through inbound telephone
calls at its Kennesaw, Georgia call center

21. The FLSA requires employers to pay employees for all hours worked.
The FLSA, 29 U.S.C. § 207 requires employers to pay employees one and one-half
times the regular rate of pay for all hours worked over forty hours per workweek.

22. Defendant’s actions, policies and/or practices described above
violated the FLSA’s overtime requirements by regularly and repeatedly failing to
compensate Plaintiffs and the similarly situated individuals for time spent on Work
activities as described in this Complaint.

23. As the direct and proximate result of Defendant’s unlawful conduct,
Plaintiffs and the similarly situated individuals have suffered and will continue to
suffer a loss of income and other damages Plaintiffs and the similarly situated
individuals are entitled to liquidated damages and are also entitled to attorneys’

fees and costs incurred in connection with this claim.

24.

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Defendant knew, or showed reckless disregard for the fact that it

failed to pay these individuals for overtime hours worked

PRAYER FOR RELIEF

 

WHEREFORE, Plairitiffs, individually and on behalf of those similarly

situated, pray for relief as follows:

l. Judgment against Defendant for an amount equal to Plaintiffs’ and
similarly situated individuals’ unpaid back wages at the applicable
overtime rate;

2. An equal amount to the unpaid back wages as liquidated damages;

3. An award of prejudgment interest (to the extent liquidated damages
are not awarded);

4. Leave to add additional plaintiffs by the filing of written consent
forms, or any other method approved by the Court;

5. Leave to amend to add claims under applicable state law;

6. Costs and attorneys’ fees to the extent allowed by law; and

7. Such further relief as the Court deems just and equitable

DATE: December 12, 2011 AUS IN & S`PARKS, P.C.

    
 
 

 

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